PROB_R Case 2:03-cr-20047-SH|\/| Document 76 Filed 04/26/05 Page 1 of 3 Page|D 1

{Rev.3l88}
UNITED STATES DISTRICT COURT

Fl§.':_.
for 05 2a as \¢.. n
WESTERN I)ISTRICT OF TENNESSEE ROB_W‘T iq- Dll n 30

 

wE c:_t-;r#s<, us cl . JT.S
STERN DWISI()N W,o, os= TN, ae.v.PH\

 

U.S.A. vs. VALERIE L. ALBONETTI Docket No. 2:03CR20(}47-01

 

Petition on Probation and Supervised Release

C()MES NOW FREDDIE MCMASTER ll PROBATION OFFICER ()F TI-IE COURT presenting
an official report upon the conduct and attitude of Valerie L. Albonetti who was placed on supervision by the
Honorable §amuel H. Mays, .Ir. sitting in the Court at Memphis, TN on the 9_t__h day of Jang_a_g, 2_(_)_0_§ who fixed the
period of supervision at two 121 years*, and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

The defendant shall participate as directed in a program (outpatient andfor inpatient) approved by the probation
officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection
of substance use or abuse.

The defendant shall participate as directed in a program of mental health treatment approved by the probation
oflicer.

*In the instant offense, Probation began January 9, 2004, but was revoked August 19, 2004, with a Sentence of thirty
(30) days imprisonment and a one (l) year term of Supervised Release, which began September 14, 2004, With the
following condition added to the previously imposed conditions:

The defendant shall serve six (6) months community confinement
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHED)
PRAYING THAT THE COURT WILL ORDER a Warrant be issued for Ms. Albonetti and her bond revoked
ORDER ()F COURT l declare under penalty of perjury that the foregoing

m is true and correct.
ed and ordered this 2 f- day

20‘_{__ and ordered filed and Executed on_QfMy / gi 9\0 05
made of th ords in the above case.
M MW»MF

U.S. Probation Oflicer

  
   

 

U ited States District J\.Dge
Place: Memphis, Tenn§ssee
, ,.H._..W,"+ maner nn the docket sheet in compiiaflu‘=`*
…» a»_p;»:_a;___ 7a

PROB 12 Case 2:03-cr-20047-SH|\/| Document 76 Filed 04/26/05 Page 2 of 3 Page|D 105

Aibonetti, Vaierie L.
Docket No. 2:03CR20047-001
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:

THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF HER BOND GRANTED
FEBRUARY 2, 2005, BY MAGISTRATE DIANE K. VESCOVO:

Ms. Albonetti used and/or possessed a controlled substance as evidenced by a drug screen on April 6, 2005, which
was positive for cocaine and marijuana

Ms. Albonetti traveled out of the Western Dist:rict of Tennessee without permission as evidenced by her arrest for
Possession of Drug Paraphernalia on Apr'il 7, 2005, by the Hom Lake (MS) Police.

Ms. Albonetti failed to notify this officer as required within seventy-two (72) hours of being arrested on April 7,
2005.

DISTRIC COURT - WESTERN D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:03-CR-20047 was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

